1                                                                THE HON. RONALD LEIGHTON
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6
7                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF WASHINGTON
8                                       AT TACOMA
9                                                    )
     DINO CONSTANCE,                                 ) CAUSE NO. C15-5426 RBL
10                                                   )
           Petitioner,                               ) PRELIMINARY OBJECTIONS TO REPORT
11                                                   ) AND RECOMMENDATION
           v.                                        )
12                                                   )
     DONALD HOLBROOK,                                ) NOTED FOR CONSIDERATION
13                                                   ) April 1, 2016 (to be continued to 4/29/16)
           Respondent.                               )
14                                                   ) ORAL ARGUMENT REQUESTED
                                                     )
15                                                   )
                                                     )
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17
            COMES NOW Dino Constance, the petitioner, by and through his attorney, Neil M. Fox,
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     and submits these preliminary objections to the Report and Recommendation (“R & R”) issued
19
     on February 29, 2016. Dkt. No. 57.
20
            1.      Preliminary Nature of These Objections
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            Mr. Constance filed the petition in this matter pro se. Magistrate Judge Strombom issued
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     her R & R, Dkt. No. 57, on February 29, 2016. On March 9, 2016, the undersigned counsel
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     appeared on behalf of Mr. Constance. Counsel for the Respondent agreed to the entry of a
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     stipulated order extending the time to file objections to the R & R until April 22, 2016, and the
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     undersigned counsel immediately filed the stipulated continuance request. Dkt. No. 59. See
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     LCR 72 (“A party must file and serve any objections to a magistrate judge’s recommended
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     disposition within 14 days after being served unless the court enlarges the time period in a
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     specific case.”) (emphasis added).


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1             Although the undersigned counsel represented Mr. Constance in portions of his state court
2    post-conviction litigation, he withdrew from representing Mr. Constance around three years ago
3    when another attorney, Mr. Connick, assumed representation of Mr. Constance in state court.
4    While the undersigned counsel has some familiarity with the facts and the issues in this matter,
5    he has not reviewed the state court record thoroughly in the past few years1 and is now just
6    becoming acquainted with the voluminous filings in this Court.
7             Although the parties reached a stipulation to extend the date for filing Mr. Constance’s
8    objections to the R & R, Dkt. No. 59, the Court has not yet signed an order extending the dates.
9    Accordingly, so as not to waive any of Mr. Constance’s rights, Mr. Constance is filing this
10   preliminary set of objections to the R & R. This filing is intended to make it clear that Mr.
11   Constance objects to the R & R in its entirety and all of its findings and conclusion. He is filing,
12   this pleading so that he is not prejudiced by the failure to file objections by the current March 14th
13   deadline. This is a preliminary objection only. Mr. Constance hopes that the Court will grant the
14   stipulated extension, and the undersigned counsel will then file a more complete set of objections
15   by the agreed-upon date.
16            2.      Standard of Review
17            This Court must afford de novo review when ruling on objections to the R & R. Fed. R.
18   Civ. Proc. 72(b)(3); 28 U.S.C. § 636(b)(1)(c); McKeever v. Block, 932 F.2d 795, 798 (9th Cir.
19   1991).
20            3.      Lack of Full Record
21            In Cullen v. Pinholster, 563 U.S. 170 (2011), the Supreme Court made clear that the
22   “backward-looking language” in § 2254(d) “requires an examination of the state-court decision
23   at the time it was made.” 563 U.S. at 182. Based on these concerns, the Court held that review
24   under AEDPA “is limited to the record that was before the state court that adjudicated the claim
25   on the merits.” Id. at 181. Recently, in an en banc opinion, the Ninth Circuit relied on this
26   “backward-looking” feature of AEDPA to hold that “[f]ederal courts sitting in habeas may
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28            1
                        While counsel has copies of many of the key documents and transcripts from state court, he has
     not reviewed in their entirety Dkt. No. 16 and Dkt. 34, and has asked Respondent’s counsel if she could send him
     digital copies of the 70 exhibits.

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1    consider the entire state-court record, not merely those materials that were presented to state
2    appellate courts.” McDaniels v. Kirkland, ___F.3d ___, 2015 U.S. App. LEXIS 22598, Slip Op.
3    at 20 (9th Cir. Dec. 24, 2015) (en banc).
4            In the instant case, it is apparent that the Respondent has not filed with this Court the full
5    record from Mr. Constance’s state court proceedings. There are thousands of pages of exhibits
6    and briefing from Clark County Superior Court that are not part of the 70 exhibits contained
7    within Dkt. No. 16 and Dkt. No. 34. The full list of superior court briefs and exhibits is contained
8    in Dkt. No. 39 and were all designated to the Washington Court of Appeals. While Mr. Constance
9    has apparently filed some of these documents as exhibits to his pro se pleadings, the undersigned
10   counsel has not yet had the opportunity to review each and every pleading to see what is missing.
11           Perhaps Mr. Constance’s prior pro se attempts to obtain a full record were inartful,
12   focusing attention on Habeas Rule 5's provisions about the Respondent providing transcripts and
13   briefing from the state appellate court. However, as McDaniels v. Kirkland, supra, makes clear,
14   a federal court sitting in habeas needs to look at all pertinent documents that were before the state
15   trial court, and should not be restricted to appellate documents. The federal court can order the
16   production of such documents, not under Habeas Rule 5, but rather under Habeas Rule 7's
17   provisions regarding expanding the record.
18           Here, in contrast to McDaniels v. Kirkland, supra, all of the state trial court documents
19   of interest here – the thousands of pages of exhibits, for instance – were actually before the
20   Washington Court of Appeals. Dkt. No. 39. It was therefore error for the Magistrate Judge not
21   to order the production of these documents under Rule 7 and then to consider them when deciding
22   this case. This Court therefore should not fully consider the Magistrate’s R & R until such time
23   as it has before it the full state court record. See McDaniels v. Kirkland, supra.
24           While the undersigned counsel has not yet been able to review the record in this Court and
25   in the Washington courts thoroughly, it is clear that the documents admitted at Mr. Constance’s
26   post-conviction hearing are critical. Just by way of example, Mr. Constance points the Court to
27   the Magistrate Judge’s treatment of the mental health history of the main informant in this case,
28   Ricci Castellanos. The R & R concludes that because the mental health evaluations (that were
     either not disclosed by the State or not uncovered by defense counsel) did not show that Mr.

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1    Castellanos was not competent, the state court did not err in determining that the information
2    would not have been admissible at trial. Dkt. No. 57 at 24.
3              But an examination of Mr. Castellanos’ mental health history, through documents
4    admitted in the state trial court post-conviction proceedings, reveals the depths of his
5    hallucinations and homicidal ideation. Clark County Superior Court Exs. 113 & 114 (admitted
6    at RP (2/23-24/12) at 927-28, 934)2 (portions attached in App. A to this memo).3 A person who
7    hallucinates about killing others and believes that he is a serial killer could easily misconstrue
8    comments made by Mr. Constance in the wrong way, and the Sixth Amendment would certainly
9    allow for cross-examination about such delusional thinking. See, e.g., Browning v. Trammell,
10   717 F.3d 1092 (10th Cir. 2013); Greene v. Wainwright, 634 F.2d 272 (5th Cir. 1981).
11             Similarly, while one might conclude, without looking at the documents themselves, that
12   the State’s failure to disclose that Mr. Castellanos was a suspect in the theft of high-end musical
13   instruments was not a Brady4 violation because Mr. Castellanos later claimed he “did not know”
14   he was a suspect, Dkt. No. 57 at 21, 38, a review of the theft report filed in the state trial court5
15   would show it that Mr. Castellanos would have known that he was under investigation since the
16   police were interrogating his associates and coming to the apartment where he was staying, asking
17   questions. See also RP (2/28/12) at 1039 (“Q. And do you remember talking to the police about
18   the violins? A. Vaguely.”). Certainly, it would have been appropriate to have cross-examined Mr.
19   Castellanos about his awareness of the pending charges. See Davis v. Alaska, 415 U.S. 308
20   (1974).
21             There are many other instances where the lack of the full record interfered with the
22   Magistrate Judge’s treatment of Mr. Constance’s claims. Ultimately, Mr. Constance will be filing
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               2
24                    As counsel has not yet obtained a copy of the record portions that the Respondent has filed, Dkt.
     Nos. 16 & 34, he is unclear which exhibit contains which volume of transcripts.
25             3
                         These copies, of course, are from counsel’s files, and were not taken the state court’s files. Counsel
26   cannot recall if the entire WSH report was admitted and will file the admitted portions when he obtains a copy from
     prior counsel.
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                        Brady v. Maryland, 373 U.S. 83 (1963).
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                       Ex. 27 (admitted RP (2/23-24/12) at 822) (portion attached in App. B, along with portions of Ex.
     19 and 22 (admitted RP (4/28/11) 320, 335) which are Det. O’Mara’s emails to prosecutor’s office about burglary).

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1    a separate motion under Habeas Rule 7 so that the full state court record is before the Court
2    before it finally decides this matter. But, it was error for the Magistrate Judge not to consider all
3    documents admitted in the state court proceedings. McDaniels v. Kirkland, supra. Mr. Constance
4    objects to the R & R on this basis.
5             4.        Failure to Consider the Cumulative Effect of the Brady and Strickland6
                        Violations and Mistaken Application of a Sufficiency of the Evidence
6                       Test – Claims 2, 10 & 12
7             There is no doubt that either the State withheld or defense counsel failed to investigate and
8    uncover significant information which casts grave doubt on the credibility and biases of the main
9    witnesses against Mr. Constance – Ricci Castellanos, Zachary Brown, Michael Spry and Jordan
10   Spry and the main investigating police officer (John O’Mara).7 There was extensive evidence
11   introduced in the post-conviction proceedings that the witnesses, variously, were the subject of
12   investigations for criminal acts ranging from theft to tampering with witnesses, had arrest
13   warrants outstanding, given preferential treatment about pending cases, had biases against Mr.
14   Constance, suffered from mental illness, or (in the case of Det. John O’Mara) had been the
15   subject of internal investigations for unprofessional conduct).
16            The Magistrate Judge rejected Mr. Constance’s claims under Brady and Strickland,
17   finding that the state court’s application of these cases was not unreasonable. Dkt. 57 at 15-25,
18   35-40. This conclusion, however, is erroneous. Both the R & R and the Washington Court of
19   Appeals’ decision were contrary to or were an objectively unreasonable application of clearly
20   established federal law, as determined by the Supreme Court, and involved objectively
21   unreasonable application of the facts in light of the evidence. 28 U.S.C. § 2254(d).
22            The Washington Court of Appeals rejected many of Mr. Constance’s claims, finding that
23   various categories of impeachment evidence would not have been admissible at trial. Dkt. 16,
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25            6
                        Strickland v. Washington, 466 U.S. 668 (1984).
26
              7
                        Whether the information was not disclosed by the State (a Fourteenth Amendment violation) or
27   whether it was not uncovered by the defense (a Sixth Amendment violation) is irrelevant. Both constitutional
     violations led to a restriction on Mr. Constance’s ability to cross-examine effectively at trial (a Sixth Amendment
28   violation). The test for prejudice under Strickland is identical to the test for materiality under Brady. See Kyles, 514
     U.S. 419, 434 (1995) (adopting Strickland standard in Brady context). Thus, Mr. Constance will combine his
     objections to the R & R as it relates to both Claim 2 (Brady) and Claim 10 (ineffective assistance of counsel).

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1    Ex. 47 at 25-30, 40-47. However, a witness’ criminal history, pending arrest warrants, mental
2    health problems, unfiled criminal charges, preferential treatment by the prosecutors, attempts to
3    interfere with the justice system, internal affairs’ investigations and the like are all highly relevant
4    and need to be disclosed (or uncovered by the defense), so that they could have been used in
5    cross-examination under the Sixth Amendment. See Milke v. Ryan, 711 F.3d 998 (9th Cir. 2013);
6    United States v. Kohring, 637 F.3d 895 (9th Cir. 2011); United States v. Price, 566 F.3d 900 (9th
7    Cir. 2009); Benn v. Lambert, 283 F.3d 1040 (9th Cir. 2002). In the full objections to the R & R
8    that will be filed later, the undersigned counsel will detail how each category of evidence that was
9    uncovered in the post-conviction proceedings was directly relevant to the witnesses’ lack of
10   credibility and bias and could have been used for impeachment at trial.
11            Moreover, both the Magistrate Judge and the Washington Court of Appeals rejected Mr.
12   Constance’s claims one-by-one, addressing each failure to disclose or failure to investigate claim
13   separately.8 Neither the Court of Appeals nor the Magistrate Judge followed the U.S. Supreme
14   Court’s requirements to consider the “cumulative effect” of the suppressed evidence. Kyles v.
15   Whitley, 514 U.S. 419, 421, 437 & n.10, 441 (1995). The importance of evaluating the cumulative
16   effect of suppressed evidence was underlined just recently in a per curiam decision by the U.S.
17   Supreme Court, Wearry v. Cain, 577 U.S. ___, 2016 U.S. Lexis 1654, No. 14-10008 (March 7,
18   2016), a case where the Court criticized the Louisiana state post-conviction court because it
19   “improperly evaluated the materiality of each piece of evidence in isolation rather than
20   cumulatively, see Kyles v. Whitley, 514 U. S. 419, 441 (1995) (requiring a ‘cumulative evaluation’
21   of the materiality of wrongfully withheld evidence)”). Wearry v. Cain, Slip Op. at 9.
22            Here, when one views the quality and quantity of the information that was either withheld
23   by the State or not discovered by defense counsel and then one views the information
24   cumulatively, one cannot have confidence in the verdict in Mr. Constance’s case. See Wearry
25   v. Cain, Slip Op. at 7 (“Wearry need not show that he ‘more likely than not’ would have been
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             8
                      The R & R’s rejection of the cumulative error claim, Dkt. No. 57 at 45-46, is therefore erroneous
     as well. Brady and Strickland both require such a cumulative analysis.

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1    acquitted had the new evidence been admitted. . . . He must show only that the new evidence is
2    sufficient to ‘undermine confidence’ in the verdict.”).
3            In this analysis, it is improper to apply what amounts to a “sufficiency of the evidence”
4    test, as both the Washington Court of Appeals and the Magistrate Judge did here. Dkt. No. 57
5    at 24 (quoting Dkt. No. 16, Ex. 47 at 19) (detailing taped conversation between Castellanos and
6    Constance). This is wrong because the inquiry for both Brady and Strickland is not whether there
7    was sufficient evidence to sustain a conviction independent of the violations. As the Ninth
8    Circuit held (when upholding this Court’s granting of habeas relief to another Washington State
9    prisoner):
10          The Washington Supreme Court in essence converted Strickland’'s prejudice
            inquiry into a sufficiency-of-the evidence question. . . . By reducing the question
11          to sufficiency of the evidence, the Washington Supreme Court has focused on the
            wrong question here—one that has nothing to do with Strickland. . . . . This
12          approach to Strickland is not merely wrong, but “objectively unreasonable” under
            AEDPA.
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     Crace v. Herzog, 798 F.3d 840, 849-50 (9th Cir. 2015).
14
            Rather, the proper inquiry, not relied upon by either the Court of Appeals or the
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     Magistrate Judge, is at least whether “a single juror” would have had a reason to doubt the State’s
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     evidence:
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            If even a single juror had found Saldate [the detective] untrustworthy based on the
18          documentation that he habitually lied under oath or that he took advantage of
            women he had in his power, there would have been at least a hung jury.
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     Milke, 711 F.3d at 1019. Indeed, in Wearry, the Court held that the “undermine confidence”
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     standard was such that “Wearry can prevail even if, as the dissent suggests, the undisclosed
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     information may not have affected the jury’s verdict.” Wearry v. Cain, Slip Op. at 7 n. 6
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     (emphasis added).
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            Here, by focusing on the one recording from an intercept (that itself was ambiguous and
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     depended upon the credibility of Mr. Castellanos to explain what the tape “meant” by reference
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     to his description of other (untaped) conversations) both the R & R and the Washington Court of
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     Appeals’ decision improperly focused on the supposed strength of other evidence and did not
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     apply the proper test as set out by the Supreme Court in Kyles, Strickland and Wearry and as by
28
     the Ninth Circuit in Crace and Milke. A proper application of the applicable tests under the Sixth


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1    and Fourteenth Amendments requires granting relief. The Court should therefore reject the R &
2    R and grant relief under Brady and Strickland.
3            5.      Reversal of Count IV Should Lead to Relief on all Counts - Claim 1
4            The State withheld evidence that Zachary Brown, the witness for Count IV, wanted a
5    benefit in exchange for his testimony against Mr. Constance – the dropping of a no-contact order.
6    See RP (4/28/11) (“I was just thinking, if I scratch his back, he'll [Det. O’Mara] scratch my
7    back.”). Based upon this Brady violation, the state post-conviction court vacated the conviction
8    from Count IV. Nonetheless, the Magistrate Judge concluded that the Washington Court of
9    Appeals did not improperly conclude this constitutional violation had no “spill over” effect onto
10   the other counts. Dkt. No. 57 at 13-15. This was error.
11           Initially, the R & R’s appears to be based on the analysis about whether improper joinder
12   of defendants violates the Constitution. Dkt. No. 57 at 14 & n. 1 (citing co-defendant joinder
13   cases such as United States v. Lane, 474 U.S. 438 (1986) and Collins v. Runnels, 603 F.3d 1127
14   (9th Cir. 2010)). Of course, the main issue here has nothing to do with joinder of defendants. In
15   fact, the issue at this point is not really whether the four counts against Mr. Constance should
16   have been tried together at all. Rather, the issue is whether, given the prejudicial Brady violations
17   regarding Mr. Brown, the convictions in Counts I-III were also tainted..
18           The Washington Court of Appeals rejected this argument, simply concluding:
19           But Brown’s testimony is relevant only to Count IV, criminal solicitation for
             assault, which accused Constance of soliciting Brown to assault Koncos, not
20           Count' s I, II, or III, which accused Constance of soliciting people other than
             Brown to murder Koncos. And while the State argued that Brown' s testimony
21           gave credence to Michael' s, Jordan' s, and Castellanos' s testimonies, the State
             also argued that Michael' s, Jordan' s, and Castellanos' s testimonies bolstered each
22           other. Furthermore, the jury heard an intercept of Constance' s conversation with
             Castellanos in which Constance planned the details of Koncos' s murder. Finally,
23           the jury was instructed to treat each count separately, and we presume the jury
             followed this instruction. See State v. Perez- Valdez, 172 Wn.2d 808, 818-19, 265
24           P.3d 853 ( 2011). Thus, the suppression of impeachment information against
             Brown does not create a reasonable probability that the results on Counts I, II, or
25           III would have differed.
26   Dkt. No. 16, Ex. 47 at 32.
27           This conclusion is contrary to or involves an unreasonable application of clearly
28   established federal law in that it failed to apply the proper tests, set out above, under Wearry,
     Kyles, Milke and Crace, and appears to rest on the prohibited “sufficiency of evidence” analysis.

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1    The decision was also “based on an unreasonable determination of the facts in light of the
2    evidence presented in the State court proceeding,” 28 U.S.C. § 2254(d)(2), because the jury
3    instruction referred to by the Court of Appeals did not instruct the jury to consider each count in
4    a vacuum and did not tell the jurors not to consider the evidence admitted as part of one count
5    when considering the other counts. Instruction No. 3, App. C.9 In fact, the jury was instructed
6    that:
7             It is your duty to decide the facts in this case based upon the evidence presented
              to you during this trial . . . .The evidence that you are to consider during your
8             deliberations consists of the testimony that you have heard from witnesses,
              stipulations, and the exhibits that I have admitted, during the trial . . . . In order to
9             decide whether any proposition has been proved, you must consider all of the
              evidence that I have admitted that relates to the proposition.
10
     Instruction No. 1, App. C. Thus, the jurors were told that they could, in fact, consider evidence
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     about Zachary Brown when determining whether Mr. Constance was guilty in Counts I, II and
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     III. Given the prosecutor’s argument that Mr. Brown’s claims gave credence to Castellanos and
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     the Sprys, Dkt. No . 57 at 13-14, the Court of Appeals’ conclusion that there was no “spill-over”
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     effect of the Brady violation in Count IV to Counts I-III is unreasonable. The issue is not whether
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     the jurors were told to decide each count separately, but whether one juror would have had a
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     reason to doubt Castellanos and the Sprys if Brown’s credibility had been successfully attacked.
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     The issue is not even whether the evidence of the deal with Brown would have affected the jury’s
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     verdict on Counts I-III – rather the issue is whether the failure to disclose Brown’s deal
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     undermined confidence in the verdict for the other counts. Wearry v. Cain, supra. Given how
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     the counts were joined for trial, and how the State argued the matter, the Court of Appeals’
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     decision was contrary to or involved an unreasonable application of settled law. The Court should
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     reject the R & R and grant relief.
23
              6.        True Threat – Claim 3
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              Mr. Constance objects to the Magistrate Judge’s R & R regarding the lack of a “true
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     threat” instruction. Dkt. No. 57 at 25-27. Washington’s criminal solicitation statute, RCW
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     9A.28.030, does require the intent to facilitate or promote the commission of a crime. But, the
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              9
                         Because the Respondent has not filed the full state court proceedings, it is not clear whether the
     jury instructions from the trial are in the record at this point in this proceeding. Selected instructions are in App. C.

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1    First and Fourteenth Amendments requires more -- that a reasonable person would foresee that
2    the statement be interpreted as a serious expression of intention to inflict bodily harm upon or
3    to take the life of another individual. See Virginia v. Black, 538 U.S. 343, 359 (2003). The issue
4    is not the intent of the defendant – “The speaker need not actually intend to carry out the threat.
5    Rather, a prohibition on true threats ‘protects individuals from the fear of violence’ and ‘from the
6    disruption that fear engenders.’” Virginia v. Black, 538 U.S. at 359-60. Here, whether or not Mr.
7    Constance intended to commit a crime, the focus, under the First and Fourteenth Amendments,
8    needs to be on the response of the listener. Given the testimony that people believed Mr.
9    Constance was just joking or “blowing off steam,” RP (2/26/08) 370, 418; RP (2/27/08) 596, the
10   exclusion of a “true threat” requirement from the jury instructions is a constitutional violation.
11            The Court of Appeals’ decision therefore resulted in a decision “that was contrary to, or
12   involved an unreasonable application of, clearly established Federal law, as determined by the
13   Supreme Court of the United States.” 28 U.S.C. § 2254(d)(1). The Court should grant relief.10
14            7.        Violation of Franks v. Delaware – Claim 4
15            The Magistrate Judge rejected Mr. Constance’s arguments that the police violated Franks
16   v. Delaware, 438 U.S. 154 (1978), when they excluded key points from the intercept applications.
17   The Magistrate Judge concluded that Stone v. Powell, 428 U.S. 465 (1976), barred the claim.
18   Dkt. No. 57 at 27-28. But the main issue is one of effective assistance of counsel under the Sixth
19   and Fourteenth Amendments and the failure of trial counsel to litigate this issue. The Magistrate
20   Judge also rejected this argument, Dkt. No. 57 at 41-43, upholding the Court of Appeals’ decision
21   that the inclusion of all pertinent information in the intercept affidavits and the exclusion of the
22   false information would not have had an effect on the determination of probable cause. Dkt. No.
23   57 at 42-43.
24            With all due respect, the Magistrate Judge’s deference to the Court of Appeals’ decision
25   is wrong. If the police involved had not misrepresented Mr. Constance as a hardened criminal,
26   if they had disclosed that Ms. Koncos was the aggressor toward him on many occasions and that
27
28            10
                        Because of the necessity of a “true threats” instruction, Mr. Constance objects to the R & R’s
     conclusion that trial counsel was not ineffective for failing to ask for such an instruction or failing to except to the
     lack of one. Dkt. No. 57 at 43-44.

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1    even Jordan Spry vouched for Mr. Constance’s presence when Koncos claimed he was violating
2    the no contact order, or if the police had disclosed known information about Castellanos and the
3    Sprys that would have shown their lack of credibility, a neutral magistrate would not have found
4    probable cause. This Court should grant relief on this ground.
5            8.       Spying on the Attorney-Client Relationship – Claim 6
6            The State placed a wired informant in the cell next to Mr. Constance, who then listened
7    in and recorded Mr. Constance talking to his attorney. In the state post-conviction proceedings,
8    Mr. Constance argued that the State’s conduct constituted a “free standing” Sixth and Fourteenth
9    Amendment violation in addition to constituting ineffective assistance of counsel when his
10   attorney at trial failed to move for dismissal of the charges on this basis. The Magistrate Judge
11   rejected this argument, concluding that the issue was only a state law issue, not cognizable in
12   habeas. Dkt. No. 57 at 31-32.
13           Mr. Constance objects to this conclusion. The Sixth Amendment does in fact ban
14   eavesdropping on attorney-client conversations, because such spying circumvents the adversarial
15   process. United States v. Perry, 875 F.2d 1346, 1349 (9th Cir. 1988); United States v. Danielson,
16   325 F.3d 1054, 1066-74 (9th Cir. 2003). Such spying also, at the time of Mr. Constance’s trial,
17   would have been the basis for automatic dismissal had a motion been filed. State v. Cory, 62
18   Wn.2d 371, 374, 382 P.2d 1019 (1963); State v. Perrow. 156 Wn. App. 322, 231 P.3d 853
19   (2010); State v. Granacki, 90 Wn. App. 598, 959 P.2d 667 (1998).11
20           Accordingly, there was a Sixth Amendment violation, and trial counsel was ineffective
21   under the Sixth Amendment for not filing a motion to dismiss based on this violation. The Court
22   should grant relief.
23           9.       Double Jeopardy – Claim 7
24           Mr. Constance argued that the convictions for Counts I and II, with consecutive sentences
25   violated the double jeopardy provisions of the Fifth Amendment. The Magistrate Judge rejected
26   this argument, looking to the state court conclusions that the solicitations of Jordan and Michael
27
28           11
                       In 2014, the Washington Supreme Court held that prejudice does not have to be presumed (i.e.
     eavesdropping after a trial). State v. Pena Fuentes, 179 Wn.2d 808, 318 P.3d 257 (2014). This would not have
     impacted the pre-trial spying that took place here.

     PRELIMINARY OBJECTIONS TO                                                          Law Office of Neil Fox, PLLC
                                                                                        2125 Western Ave., Suite 330
     REPORT AND RECOMMENDATION - Page 11                                                 Seattle, Washington 98121
     Constance v. Holbrook, C15-5426 RBL                                                        206-728-5440
1    Spry were separate. Dkt. No. 57 at 33-34. However, the Magistrate Judge failed to analyze the
2    actual trial testimony, and relied simply on the legal conclusions of the state courts. Yet, the
3    record indicates that Mr. Constance allegedly repeated his offer to Jordan and Michael Spry on
4    a number of occasions, and allegedly discussed the matter in front of both individuals at the same
5    time. RP (2/26/08) 443. There is only one unit of prosecution under Washington law and thus
6    double jeopardy was violated. See State v. Jensen, 164 Wn.2d 943, 958,195 P.3d 512 (2008). The
7    Court should grant relief on this basis.
8              10.    Other Objections
9              Mr. Constance objects to the Magistrate Judge’s R & R regarding (1) the knowing use of
10   false or perjured testimony (Claim 5), Dkt. No. 57 at 28; (2) the discovery violations and lost
11   evidence (Claims 8 & 11), Dkt. No. 57 at 44-45; and (3) trial counsel’s ineffectiveness for not
12   preparing Mr. Constance to testify at trial and all other inadequacies not covered above, (Claim
13   10), Dkt. No. 57 at 36-37. Additional briefing will be contained in the final set of objections.
14             11.    The Court Should Grant a Certificate of Appealability
15             A COA should issue if “jurists of reason could disagree with the district court’s resolution
16   of his constitutional claims or that jurists could conclude the issues presented are adequate to
17   deserve encouragement to proceed further.” Miller-El v. Cockrell, 537 U.S. 322, 327 (2003). “The
18   standard for granting a COA is ‘relatively low.’” Beardslee v. Brown, 393 F.3d 899, 901 (9th Cir.
19   2004). “This threshold inquiry does not require full consideration of the factual or legal bases
20   adduced in support of the claims” and “does not require a showing that the appeal will succeed.”
21   Miller-El, 537 U.S. at 336-37. Mr. Constance’s is appropriate for a COA. The Magistrate Judge’s
22   recommendation here, Dkt. No. 57 at 46, is wrong and the Court should issue a COA on all
23   issues.
24             12.    Conclusion
25             For the foregoing reasons and the reasons set out in all prior pleadings, the Court should
26   reject the R & R and grant the writ.
27             DATED this 14th day of March 2016.
28                    Respectfully submitted,
                      /s/ Neil M. Fox
                      Attorney for Petitioner

     PRELIMINARY OBJECTIONS TO                                                     Law Office of Neil Fox, PLLC
                                                                                   2125 Western Ave., Suite 330
     REPORT AND RECOMMENDATION - Page 12                                            Seattle, Washington 98121
     Constance v. Holbrook, C15-5426 RBL                                                   206-728-5440
1                                      CERTIFICATE OF SERVICE
2            I hereby certify that on the 14th day of March 2016, I electronically filed the foregoing
     with the Clerk of the Court using the CM/ECF system which will send notification of such filing
3    to attorneys of record for Respondent and other parties
4           I certify or declare under penalty of perjury that the foregoing is true and correct, this 14th
     day of March 2016 at Seattle WA.
5
                     /s/ NEIL M. FOX
6                    Neil M. Fox, WSBA No. 15277
                     Attorney for Petitioner
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     PRELIMINARY OBJECTIONS TO                                                    Law Office of Neil Fox, PLLC
                                                                                  2125 Western Ave., Suite 330
     REPORT AND RECOMMENDATION - Page 13                                           Seattle, Washington 98121
     Constance v. Holbrook, C15-5426 RBL                                                  206-728-5440
APPENDIX A
        .6




                                         SOCIAL SECURITY DISABILITY
                                          PSYCHIATRIC EVALUATION


             Rkc:i D. Cutellaao.
             SSN

             Identifying Infonution: Mr. Castellanos is a 45-year old Caucasian male who anives .
             on time for his 9126105 appointment. . .             .

             Chief Complaint: When asked why be's applying for Social Security Disability and
             what prevents him from gainful employment he states, ''My back"

             I was asked to see the client regarding a history of depression.
                                                                                                           ,

    •        Present JIiItory: Client states medically that he has back pain in specifically L2IL3 and
             lAIL5regions where he's had herniated discs. He's apparently had two back surgeries,
             the first in July 2002 and the second in December 2004. He states that he now
             experiences constant and chronic back pain, radiating up into his right shoulder, mid low
             back: and down into both buttocks. He'll also have a moresbooting, intermittent pain that
             goes down into both right and left legs and at times will leave sWelling and edema. He
             states that the pain is.increased by stress and any type of incrcll8ed activity or lifting. The
             pain is d~byiJotbatlis,· stretclting and sometimes walking. He is on no
             medications currently for pain and be denies taking over-the-counter pain medication.
             He also apparently has a long-standing history of hepatitis, specifically hepatitis C, now
             for 17 years. He currently takes a form ofInterfuron shots; Pegatron shots, once weekly
             and has been doing tbat since July ZOOS and bas to be on this fur one year. He bad been
             on PaxiJ previously, 30mg. He's.not taken any now for one and a halfmotfths.He's also



    •
             on a high blood pressure pill                                          . - ..
                                                  .                              "£ ;'    .
             Past Psychiatric History: Client states that he's bad problems with depressio~through
             much ofhis life. He had a severe bout after his first round of Interferon in 2060. He's
             had at least nine to ten psychiatric bospitAlivrti'lllS; one at Western State HospitAl for
•            homicidal ideation altbougb he denies homicidal attempts. It was very difficult to gather
             adequate history from the gentleman. He started bragging and talking about being on 60
             Minutes because his cclI mate was the "Happy Face Killer". I could not gather exactly
             clearly what this has to do with bis homicidal ideation. He however, has had multiple
             suicide attempts. He claims to have tried to hang himself imd overdose numerous times.
             His last psychiatric hospitalization was about two years ago. He states ~ his first bout
             with psychiatric treatmcat was when he was in the scventhgrade when he was constantly
             beating up people and having lots of anger. lie bad to be hospitalized at that time as a
             young child. He's been on multiple psychiatric medications over the years including
             Paxll, most receo11y. It is not clear why he stopped unless it was secondary to funds. In
             the past be's been on Seroque1, Prozac and Zoloft. He denies any use of mood
             stabilizers. He bas bad therapy in the past. All of this apparently through Columbia
             River Menta1 Health.
                                Page 2
                                9/26/05
                               Ricci Castellanos



                               Police History: Client has multiple histories-ofDWIs. He has a history of domestic
                               violence, theft and receiving stone property. He has never spent prison time. He has
                               spent quite a bit ofjail time.

                               Alcohol and DnIg: The client bas a long standing history of a1cohotand drugs. He
                      --'---started drinking when he was a child, pretty much heavily through then. "1 can't afford to
                           drink now. 1 would ifI had the money, but I have no money. I !WI to move bacIc to my
                             _parentS_12 daysilgo~" ._ He states that he's clean and' sober now for about two days. He
      . --
                       - ,-- hadibOut twO beerSiJr moreafew-Ciays ago. He used to drink daily for years, easily a
-~




                              fifth a day of rum and drank for eight to ten years at this level. Now, he states, he may
                             have foUr or mOre Red-Dogs a Week. He's had at least seven different treatlllents and six
                             DWls. -He's had seimres from withdrawals and definitely withdrawal symptoms and
                             possible DTs. He denies ever having been fired froin work secondary to his alcohol. He
                              clearly has missed a lot ofworkbecauseofit.
     - - -- -   - -- -,c e o   He's hadalong standing history of drug use. He began sniffing gas wben he was a nine
                               year old boy. -He's abused Oxyeontin through January and February after his most recent
                               surgery. He went to jail at that time and was detoxed in jail. He's had cocaine IV usage
                               in the past and has been clean and sober now from drugs, except for the recent Oxycontin
-: -=- ~::.:.-
             - -= --.~,cforiOOirtf!ighfyem. -- -


                        - ,. ' Bacligroud Psycb.oIOciaI HistOry: Client grew up with his aunts    ana    uncles. He was
                       - passed arouild his relatiVes and parents'thrOughout his youth. -He was the -youngest of onc
                               brother, one halfbrother and a: sister."He was in trouble from a very early age, constantly -
                              fighting in school. He went before a judge and was sent to a ye8r ofjuVenile prison. He
                               only finished through the eighth grade before dropping out. He never did get his OED.
       _•       . _. .         He bas been married once and divorced. He was married for about seveJt yeQrtl. He has
                               six cbildren rSDgillg in ages 28 to 14: None of the kids are withmm and he has no
                  _. - -Contact. These are by four different women and he has been declared a dead-b'eat dad
                             . and is apparently $110,000 in the hole of back support. He states that Washington has
                          - "tucked up laws" and he's very angry about the child support issues. -At this point in the
                           . interview it became clear about what: his homicidal ideation Was about/ ststing at this
                              point, "That' 5 why I wanted to kill woman'" .ms last job was himging sheet rock. He
                               states that he's been a constIUction worker in sheet-rook: for 23 years. His last work was
                              in June 200 1. He belongs i:O the carpenters wiion. "YaU kn~w I wouldStin work if it
                       - ---- wasn't for my back. I always have worked." -He states that he did not work long enough
                          - to be able to collect retirement-andtbis is a sore point for him.

                           Typieal Day: Currently the client is living with his parents in California. He had come
                           up by bUs just for this interview. He had to move -back to live with them secondary to
                           money issues here 12 days ago. He's currently living in the Sacramento area and in fact
                        -- talked -about his recent bus trip up. He had been living with friend prior, supporting
                           himself mostly from Craig's List; getting free stuff and then selling. When I 8sked about
          .'      •
                        Page 3
                        9/26105
                        Rioci Castellanos


                       his hobbies and pleasures he stated, "1 like to tell people how I feel and how pissed off I
...- .               . anrat the system.". He denies that he'.g doing any chores at this time at his parent's house.
         - -     - - -He pretty-much sleeps during the day;-· Hois involved in the choir at their local church
                       and enjoys that. He doesn't have any friends and isn't currently in a relationship at this
                      time.

                          Monti! Status- Eumination:ObserVationHnds'a geDtleman with multiple tattoos
                          aaoss his /II'IDB,wearing tennis shoes, was unshaven, wearing a trucker's hat that says
                          "Wrong Way" on it, sunglasses on top of his head and jeans. Marginal care for himself
--   ' -- '-- '-- blitit may have uniowith thelong·busride.- He is still bathing and oaring for his ADLs
                 ____ - adequately. . Client was oriented to time, place and person. He was withOut tics, grimaces




         •
                       - or tremors or obvious physical deformities.' Client's affect was full range. His mood
                          described over time as irritable and at times depressed, especially arowui his anTent life •
                          situation. Thought content showed no delusions, AV hallucinations, or histOl)' of same.
                       · There was no formal thought disorder. There is a long histOl)' of suicidal ideation and
                         attempts though none current. There is a previous history of homicidal ideation though
                         none cmrentIy and hospitalizations lII'OWld this. Ability to abstract, calculate and
                         remember found that the client could remember three out of three objects'immediately
            ... -- - - . and three out of three again at five minutes. He could state the presidents back through
                         Bush Sr.-He knew that we had recently had a hurricane in the New Orleans area. Client
                         couJd spell the word "world" forward but was not able to spell it backwards. He found
                         this quite difficult. He was able to do serial ills with some difficulty but did not make
                      · errOts in doing it: He could maintain-abstractive abilitytQ similarity.questions Such as
                        chair and a sofa and gfape and a banana in an adequate manner. He was unable to do
                         common metaphors. A subjective assessment of intelligence would be in the low-
                         avenge to averagemnge. Much of this may-be due10 his level of schooling. .

                          SUlUlary: Mr. Caste11anoilis a 45-year old Csucasiangentleman with along histol)' of
         • ••             multiple suicide attempts and psychiatric hospitalizations, all with what appeafs to be
                          Characterological wounding ofa cluster B nature; most likely narcissistic and anti social
               . .. . _. wounding with impulsiveactivityandanga-. He rurrently is not suicidal at this Point in
                        · time:' He iii not currently homicidal. He is low -on funds and had to IIlQve hack in with
                        ·his parents and is currently.residing in the California area. He is not currently on
                          medications.. That inaYllave to do With him recently moving to Califumia. He is
                        ·receiving treatment for his hepatitis C which wa!! probably obtained with his long IV use
                          of cocaine, He has Ii long standing histOl)' ofboth alcohol and drug d~. He is
                          currently still abusing alcohol after Ii long.dependence histol)'. At this point in time as
                         the clKint states, hewOuld still work ifit wasn't for his physical issues, specifically his
                          hepatitis and his chronic back. problelIlS which give him quite a bit of pain. Given his
                          educational level if he was not able to do physical work: he would not be able to work: at
                          all as his schooling level would prevent him even from simple cashier worlc. At this
                         point in time psychologically his psychiatric problems are not preventing him from
                       · gainful employment. He has been able10 workpmty continuously through the years
                          even with the long-standing character disorder pathology he possesses. I'll defer to his
                                                                  t ..   ~




                  oJ   ,'   I        ~


                                         Page 4
                                         9126105
                                         Ricci Castellanos


                    physical physici~ ~ to whether his current physical problems such as the hepatitisC
__ ~___ _~.~~~ . . .and the' h~~ ~i~prevent h~_£Colli gainful employment.

                                         Working DiagnOllis:
                                              Axis I - Depressive disorder, NOS, possibly related to long-standing drug and
    . .;-..;. -    '.       .   ..                         alcohol history; rule out major depressive disorder; alcohol
                                                      · _depeiidenl:elahQse;-cumintlYln an abuse pattern; cocaine dependence
                                                         . currently in sustained remission
                                              Axis n - CIu~Bpersonalitr disorder with narcissistic.and antisocial features
                                              Axis m - History ofhemiated disc with chrOnic pain; history of hepatitis C
                                                           currently undergoing Interfuron treatment; client could have some
                                                    .. ~. depressive issues ~ to the ongoi!Jg Interferon treatment which can •
                                                          bea significant and serious.side effect
                                              Axis IV -Psychosocial stressorsmarked by unemployment and poverty
                                              Axis V - Current GAF - 60+, highest GAF in past year - 60+.

                                         Ability R..dIe FiUIdi: -GiVeii'the long .stiiiiImg druglJlld alcohol history. ifgranted
                                                 to
                                         Social Security Disability, the client would not retain the ability to handle his own funds.




                                         GeorgeMecouch, D. O.·~
                                         Board Certified PsychiatIy




•
APPENDIX B
                                            - residential




!Reporting Officer
,Hammond,            Scotland
'ApprcvingOff!Cer        ""--------------
~ Th~mpson_~~~~ __ _



'Report         printed~:       0127

                                                            5720
                     GUITAR




  I   I   I




      Narrative ,                  "                        '                        ,,                           : ,                              -
  SUMMARY:
  Dispatched to a residential burglary at .
  been stolen. A Residential burglary                            !"!~!!!~!~,~V~ictim  stated some music instruments had
                                                                                  taken. Case suspended due to lack of
  investigative leads.

 MENTIONED:
 Diane Lawer - victim

 ACTION TAKEN:
 On August 9,2007 at 2131 hours I was dispatched to a residential burglary at·I • • • •

 I    arrived on scene and contacted a female (identified as Diane Lawer)

 Diane stated sometime between 4:00 pm and 9:00 pm someone had entered her home and taken some musical
 instruments.

 I asked if the house was locked and Diane said, "No". Diane stated she had left the front door unlocked when she
  left. I looked at the front door and saw no evidence of forced entry.

 Diane stated nothing was out of place and nothing else was missing except for the instruments.

I asked Diane if she had been fighting or arguing with someone that could possibly be mad enough to come and
take the instruments. Diane stated she had not been fighting with anyone. Diane said she did not know anyone
that would have taken the instruments.

Diane gave me a list of the instruments:
2 Cellos = $5300
1 Violin =$650
2 Violas = $1500
1 Electric Guitar =$100

Diane stated she owned the instruments outright. I asked Diane if she had any serial numbers. Diane said she
did not have any, but would call 8eacock music store to see if they had the serial numbers on record as that is
where she purchased the instruments.
fReporliog    Otr;cer-'~~--'~"~~                   -- .. -_ ... _.. -.-------.--.----~-                                 PSN

; Hammond,         Scotland                                                                                             1431
; ApproVing 0ffiCei--"-- -,------.-.-..-----.. ....-----_.. _- - ....------ ._._ ... - .... --. --.----.-------
                                               ~                                                                        PSN    -_ .. ---j

. ~?om2~..?E:~~~.~____ ~ _____.________._ .__ . ___.... ___._ ...__.. _. ___.___________ .~3 8 4~ .. _._._J



                                                                                                                                            5722
    Vancouver
     ~

   I looked in the front room area of where the instruments were kept and found nothing of evidentiary value.

  I gave Diane the case number and told her to call if she had the serial numbers or any more information regarQing
  the theft.

  RECOMMENDED ACTIONS:
  Case suspended due to lack of investigative leads.




r-------··-----·----                           --_._---_ ..- - - - - - - - - - - _ .
iI certify or declare under penalty of perjury under the law of the state
iof Washington, that to the best of my knowledge the attached report(s),
/documents/ and information contained therein are true, correct, and
,accurate. (Rew 9A.72.085)
!Reporting Officer
!Hammond, Scotland
'Approving Offic..~----.-------.---
. Tho~_son r _J=o=n,--_




                                                                                                          5723
     Vancouver Police De
     ~~II         III




    Narrative                               ~                      ~.               .
    ACTION TAKEN:
    On August 9, 2007 I was dispatched to a residential burglary at _ .                        . The victim (Diane
    Lawer) reported someone had taken several instruments from inside the house. Diane said she was going to try
    and find the serial numbers for the stolen instruments. I told Diane to call when she got the serial numbers so I
    could put them in the report.

    On August 11, 2007 I received a voice message from Katherine Lawer (daughter of Diane) regarding the stolen
    instruments she reported on 8/09/07.

Katherine left a message giving me the serial numbers to the instruments.
Cello #1 - J3522
Cello #2 - L6425
Viola #1 - 2571
Viola #2 - M43025
Violin - Z3771

I called records and they stated they did not need a make and model number to enter stolen property into NCIC,
just the serial number.
'"ffepcrong   Off~---'----   - - - - - - - - - - - . - - - - - - - ---.---.~.~~------.-.----'----
,Hammond r           Scotland
!Approving Officer - - - - - - - - . - - - - - -.. -.-----------.-----.--- - - - - - - - - ----.,
r   Trump f     I   Rodney




                                                                                                            5725
 IVancouver Police Department
                                                                                     ) Case No.
                                                                                     107-16197


 I am going to follow up and get the make and model numbers for the instruments for more identification purposes.

 Case is active until I can do further follow-up my next work day.

 RECOMMENDED ACTIONS:
 Attach to Original report. Case active for further follow-up on my next work day.




;I certify or declare under penalty of perjury under the law of the state
:of Washington, that to the best of my knowledge the attached report(s),
!documents, and information contained therein are true, correct, and
. accurate. (RCW 9A. 72.085)




                                                                                                      5726
                                                          22:57 1414

            Su                         rt
  I Records Center




~--- --'-];!-':~':- ----------------
IApproving OffICEr
'Skarpho, Richard


                                            ?age 1 of 3

                                                              5727
    SUMMARY:

    I recovered a stolen viola and it was retumed to the owner.

NARRATIVE:

  On the above date and time I responded to the above address with Ote. Lachapelle reference a subject trying to
 pawn a stolen cello. Ofc. Lachapelle got information from the subject about where he got the celio and' went to
 IReportingOffJCer                                                                                                            PSN  -~Tt\.l 0 S'JO <!~!
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    Vancouver Police uepaln:m
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  The subject stated he got the cello from Lynda Castellanos and she lived at
  contacted Lynda at that address and asked if I could come inside to talk                                   me      her
   apartment and I then asked her where the cello came from. She said a friend of hers named Buddy had brought
  the cello over a few days earlier. She said he left the cello in her apartment and told her that she could have it. I
  asked Lynda if she had any other musical instruments inside her home and she said that she did not. She said
  that she was going to    a violin from Ricci Castellanos, her ex brother-in-law, for $25. She said that he stays in
  either apartment.          but is not there now. She said Robert Kosek lives in apartment               .11
                                                                                                   and that is where
  Ricci had left the

  Lynda said she only knows Buddy by his first named and described him as a white male in his late 30's, with a
  bald head. She said he used to live on           directly behind the check cashing store that is on the corner of


  I contacted Robert in apartment   II and asked if I could come inside and talk to him about the violin. Robert
  invited me into his apartment and I asked him if he had a violin. He stated that his friend Ricci had left one in his
  apartment and that Ricci was selling it to Lynda for $25. I asked Robert where the violin was and he said that it
  was in hall closet. I asked Robert if I could get it out of the closet and he said yes. Inside the closet I found a
  case containirig what I thought was a violin. Robert stated that he did not want the violin in his house because it
  did not belong to him. I took the violin for safekeeping. I asked Robert if he knew where the instrument had come
   from and he stated that all he knew was Ricci had brought it over and was going to sell it to Lynda. Robert said
  Ricci had left before we arrived and did not know when he would be returning.

 I checked the EPR report with the information about the stolen instruments. I determined the instrument to be a
 viola and that it was stolen in the original burglary. I confirmed this by matching the serial number on the viola to
 that of one stolen in the burglary. I contacted the owner of the viola and it Was released back to her.

 I went to the address that Lynda had described and determined it to be.                 . I contacted the
 residents at that address who said that Buddy used to live there, but had moved out over a month ago. They were
  not able to provide me with Buddy's last name or current address. They did state that he drove a blue Nissan
 Pulsar.

 I ran the name Buddy in EP~R~a!n!d!![~;~c~he~C~~king every entry. I found an entry for a subject named Buddy
 Goebel. Buddy listed                     as his address and was reported as driving a blue Nissan Pulsar bearing
 342L YZlWA. There was no current·                 on Buddy's location.

 ACTIONS RECOMMENDED:

 Forward to Detectives for further follow up.




                                                                                                                                                 --,
:I certify or declare under penalty of perjury under the law of the state
lof Washington, that to the best of my knowledge the attached report(s),
!documents, and information contained therein are true, correct, and
! accurate. (RCW 9A. 72.085)                                                                                                                           i
:ReportingOfficer                  :--'--------                                       -~P~S"~---,~~~rv                              a   ~10 -<,%(
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                                              --rReS1dence~ EmplcyiTlefijj'OCCtJpatiOn-------·-----------~------·               -------1
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~       _           __________.__._-..-L____ -......:....---.----~ _l. _____._________ L_ ... _._. __.. _.-'-.....
; Custoay Status        , Gang Affiliation         Tnbe Affiliation         . k:ienlif.ers
:_. ____ .___ L ___.____ ....__._.._'-.__._.___....._..1.____ .___ .. ___..___.__.
. Cornmeots
                                                                                                                      -··-~------~i




    Narrative                                                                                                                         -
SUPPLEMENTAL REPORT:

On 08/18/07 at approximately 1640hrs. I, Ofc. Lachapelle, along with Ofc. McCaleb was dispatched to _
1Reporting Officer --                                                                                        PSN
'Aldridge, Amy                                                                                               1410
'AppfOvingOfflCef       ~--.--.--------------                         ..- - - - - - - . - - - - .--.------
                                                                                                             PSN
, Skarp_~~~. Rich~.!.d                                                                                       1177




                                                                                                                             5730
    I   Vancouver Police ueoannlerlt
        ~



    Upon my arrival, I noticed a male matching the physical description given standing in the door way of the
    business. I approached him and he identified himself as Mark Wilson. Mark stated that he brought the cello to the
     store the day before        to      it. I asked Mark where he got the cello from. He stated that he got it at
    Linda Costellano's house, '                                Mark stated that Linda told him that the cello was
    given to her by Buddy,

    Mark stated that Linda did not have any money so he offered to pawn the cello for her. Mark stated he was just
    trying to help Linda out. Mark agreed that he should have known the cello was stolen because he said Buddy
    breaks into houses often. He also said that he originally attempted to pawn the cello at a shop downtown but they
     would not take it because the suspected it as stolen.

    Mark stated that he particularly suspected the cello of being stolen property after he had already taken it to the
    pawn shop and Linda told Buddy it was there. He stated that Buddy became very angry about it because he knew
     the could track pawned property.

    Mark stated that he did not know Buddy's full name but believed he lived on ;          . Mark stated that he would
    contact me if he was able to find out Buddy's full name. Mark was released at the scene after Ofc. McCaleb
    arrived at Linda's house. I was notified by the pawn shop that the police had seized the cello the day before.

    Ofe. McCaleb informed me that he spoke with Linda and that he recovered another stolen viola. SEE ATTACHED
    SUPPLEMENT OF OFC. MCCALEB

    Ofe. McCaleb and I went to               the address also described to him from Linda, as Buddy's current
    residence. The occupants                 were cooperative and stated that Buddy had not stayed there for
    about a month. They also did not know Buddy's full name.

    Mark contacted me at approximately 2130hrs. and stated that Buddy's full name was Buddy Lester Goebel.

    RECOMMENDATION:

 This report should be attached to the original and sent to Det. Knoeppel for additional investigation.




                          .. - . - - - - . - - . - -..- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - . - - - - - - 1
                                                                                                                                 ,
~.-.--.------.---.--




:I certify or declare under penalty of perjury ~~der the law of the state
lof Washington, that to the best of my knowledge the attached reportes},
idocurnents, and information contained therein are true, correct, and
iaccurate. (RCW 9A. 72.085)
'Re;poiilig   Offi~--------------------------·--------PSN


!Aldridge ,        Amy
-AWroll~5ffK.er··-----            -.--.. - - - - - - - - - - - . -.. ----..- - . - - - - --.--
                                                                                                    1410
                                                                                                 ·---PS~<f----


'Skarpho, Richard             ..________ ._ .. _____. _.. _______                                   1177    j


                                                                                                                     5731
 I
 I'
   08/29/200
   7



 ~iij~~~ cello retained as evidence



 Diane Lawer's stolen cello was recovered from Anson Service, the owner of Purple Monkey Music.

 NARRATIVE:

 On 8/17/07..,.airlt~albout 1830 hours, I received a phone call from Anson Service, the owner of Purple Monkey Music
 located at :_
 Anson told me                   attempted to sell him an expensive cello for a very cheap price, and Anson suspected it
  was stolen. Anson provided me with the description of the cello including the serial number, and I confirmed the
 instrument was stolen.

 Anson told me the following:

 A white male walked into his music store carrying a cello. The cello was not in a case (I previously spoke with
 Diane about this burglary and she mentioned that the cases for the instruments were not stolen). The male
 wanted to sell the cello to Anson for about $50.00.

Anson knew the cello was worth significantly more than that, and assumed it was stolen. He kept the cello and
told the male to come back later and he would see what he could do. Anson said he almost had the male's I.D.,
but the male left the store. He described him as a white male in his late 30'~.

I gave Anson the case number and told him to call 911 if the male returned for the cello. Anson came to my office
and turned the cello over to me. I contacted Diane Lawer to advise her that I recovered the cello. I described the
male that attempted to pawn it and she said the male did not seem familiar.

On 8121/07, I learned that patrol had responded to Purple Monkey Music on 8/18/07, when the male (later
identified as Mark James Wilson) returned for the ceJlo. Per investigation conducted by Officer Amy LaChapelle
and Officer Eric McCaleb, Mark admitted to pawning the items however said he obtained them from somebody
else. Their investigation led to the recovery of Diane's viola.

I asked Diane if she knew any of the people mentioned in the reports. Diane did not know any of the people I
mentioned .
.Reporting Offteer                                                                       PSN
jKnoeppel, Barbara                                                                       1307
~--.---~.-                       ._----   '~---"--'---"---   -----_.                     PSN
,Appro.ving Officer
. Ryan,      ~T~o~m_ _ _ _ _ .   _ _ _ _ _...._ _ _~ _ _ .                               1113


iReport. ..Erinte<!_IeY.!......Q.~.:u....._.. __________... ____ .._ .... _.. _ _,   Page 2 of 3        ...:. . _______ ...:..... ____ ..--1

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    iVancouver Police De
     ~

    I contacted records and had both instruments removed from NCIC. I returned the celio to Diane's husband, Bill
    Lawer, on 8/29/07 and retained photos of it as evidence.

    RECOMMENDED ACTION:

    Active; pending contact with Ricci Castellanos and Buddy Goebel.




,-_.--------_._- - - - - - - - - - - - - - - - - _ . - - - - - - - - - - - - - - - - - - -
:I certify or declare under penalty of perjury under the law of the state
;of Washington I that to the best of my knowledge the attached report(s) I
[documents, and information contained therein are true, correct, and
[accurate. (ReW 9A.72.085)
iReporting Officer
iKnoeppel J Barbara
fAppro."ing Off!Cef'                             --------
. ~:~(an,     _~~~___________________


;

@.,8l'Ort l'r:h!>,ted .EY~_.Q..~_7_______ .. __ .________ _             _ ____~P~a~g~e~3 of 3
                                                                                                         5734
  'Vancouver Police De
                                                                                                                                        13: 20 1307




Copy of Pawn Hold
Copy of Stolen Hit
Copy of Certified Letler to Diane Lawer


SUMMARY:

A stolen Viola was located at Briz Loans. Five musical instruments were stolen in this residential burglary. The
viola is the 3rd instrument to surface. The pawner, Jan Edwards is a transient female.

NARRATIVE:

On July 1st, Tom Beene notified me of a stolen hit on a viola at Briz Loans. I called Briz Loans and placed a
rRe~rting   Officer -----.-----------.~.------                                                                    PSN

: Knoeppel , Barbara                                                                                              1307
jApproving OOce-;:-------- -.------..-.. -..-..------.-.--.   -----------.. --.....- -----..   -------~---        P S N - - - ---,

'Ryan,        Tom ____ .. _. __ "____ .. ___. __________ .. _ __    .. _______ ..._ ..."._ ..___ "... ____ . ______ !:!_~~   _____ ._

                                                                      .. _______ .______ ~.~.J.-"}                             2

                                                                                                                                             5735
   Vancouver
   ~                II
  On July 3rd, I contacted Scott Ulrich at Briz Loans. Scott said he did not recall the specific transaction, which
  occurred in March of 2008. He said he was not familiar with Jan Edwards (pawner) and would not be able to
  identify her.

 I examined the viola and confirmed the serial number was M43025. The viola had been pawned along with the
 case and bow. I placed a written hold on the viola and had Scott sign the hold.

 I advised Scott that the victim had 5 instruments stolen in a residential burglary and that 3 had surfaced thus far.
  advised Scott that the victim, Diane Lawer, would likely want to arrange for the return of her property however I
 still had to notify her of its recovery.

 I contacted records and had the viola removed from NCIC.

 I checked EPR and Prime and was unable to find any address or phone numbers for Jan Edwards. There is no
 suspect in the original burglary, although Buddy Goebel was a person of interest. The other instruments that
 sufaced were allegedly given to the possessors by Buddy.

 I have been unable to contact Diane Lawer. I sent Diane a letter via certified mail. I notified Diane that I had
 located her property, placed it on a 120 day hold, and requested she contact me.


 RECOMMENDED ACTION:

 Suspended pending contact with victim.




,---------.~--               ..---   '--.~-----                                                                ------------_ ...   ----~-,

                                                                                                                                          .
!r certify or declare under penalty of perjury under the law of the state
!of Washington, that to the best of my knowledge the attached report(s)/
; documents, and information contained therein are true, correct, and
. accurate. (RCW 9A.72.085)
jRepCftingotf.ce;.--·~--------~·-~------·--··-~-----·-·-----------------------                          PSN
 Knoeppel, Barbara                                                                                      1307
fAi;proVl1g Offrcef-------                        - - - - -.. - - - . - - - - - - - - - - -.. _ . - - - P S N - - ' - -

. Ry~~_J'0m ___________ ..                                                                              1113




                                                                                                                                   5736
 Watson, Peggy
 From:                            OjMara, John
 Sent:                            Friday, August 31, 2007 5:47 PM
 To;                              Earl, Stephenie
 Subject:                         RE; Pretriallfltervlew re: Dino Constance


 0930hrs sounds great. Thanks. Regarding Ricci the "semi-hero", ! read about it in the CoI_umbian, yesterday's- ~aper, .It
 was on the front page. Hapefuny that wUJ help offset his recent cases where he was arrested on a warrant, and IS a
 suspect in a hit and run and residential burglary. Hhhhmmmmm ShoiJld be interesting. Someone should have· warned
 you that I'm the shiC magn~ for the County. I'm not kidding either. Thls was determined by those that would know be:tter
tnan anyone else .. the dispatchers for both County and City. Apparently Jeff Wilken (I think that's his name) is the shi#
magnet fot the City (VPO) and I'm it for the County ... and 1apparently am "Tops~ fur both. If you don't believe. me, ~o on a
rIde-along with me some lime when rm working overtime in patrol and you'll wItness it first h;,md, No matter what k!nd of
callI get, I either !urn it into something "more" (which I always thought wa'S a good thing), or it becom-es irs own beast
Anyway, all of that Was saId so you are forewarned of aI! the things that could happen wlth thi.s case, Ricci be1ng the first
fine example of that (and the fact that it's MY case). In addmon to that, we have a bonus added in the form of Dino
Constance, so this will only get worse before it gets better. But hey, at least I keep life "interesting". Yeah, thafs the word
J'n use•.• interesUng.

Anyway, don't fret about Rfcci. I will get In contact with him, if I have to go harass him in his "hood", and make sure he not
only contacts you, but if you let me know the date and time he's assigned. \'\1 try to see to it personally that he shoWS
up".OO time.

Hope you have a, great Holiday Weekend." which I realize you have probably already started, I'll be "sufferIng" on Monday,
the actual honday, working overtime at $79.50 per hour, Thats ok though, We all have our crosses to bear. See you soon,


~()~
Detective
Major Crimes Unit
(360)397-2028            .
john.o'mara.@ciark.wa.go'l
-CONF1DENllALITY NOTICE-'

This e-mail may contain information that [$ priVileged, confidenfiaJ, or otherwise exempt from disclosure under apprtcable
law. If you are not the addres~ee Of' it appears from the context or otherwise that you have received this e~mal1 in error,
please advise me immediately by reply e-mail, keep the contents confidential, and Immediately delete the message and
any attachments from yaur system.




From:           Earll Srephenie
Senb            Friday, August 31..20071;49 PM
Til:            O'MOlO, John
subject:        Rf: Pretrial   InteM~w   re: Dlno Constartce
You crack me up! Sorry -\ went to lunch. Would you UKe to meet with Tony at 9:30 am        Of   9:45 am that day? Thatway
you and Tony can meet before dc-fense shows up. Also, it Win be in aur office.

From:           O'Mara, lohn
Senti           Fridav~ AUgl.ist 31, ;2.007 12:54 PM
To..            Earl, 5teptlenie
$<Jbje<b        Rl:; Prelrial rnterYlew re: Dino COnstance

Ok, ! jllst left you a "goofy" message, Since you ignQred my phone cal!. even thQugh yqu "JUST' emaHed      me.   YeS, tt1e
12th looks good, I have two questions:




                                                                                                                   005626
            :lpn, Peggy
         ~;                               D'Mara, John
        <i1ent:                           Friday, August 24, 2007 $:05 PM
     ';?iro:                              Earl. Stephenle
      Oc:                                 Galik, Tony        .
{t    Subject~                            RE: PretriaJlntsNiew re: Dine Constance


      Well, I thought you both might want to know that it "may" be easier to keep in touch with Ricci than one would have
      originally thought As (uck would have it, bad luck, he is presently in (he Clark C01.lnty jan With no "out date" listed. He was
      apparenHy arreBted on a warrantfQr FTC or FTA. tcao't remember which ooe. He is also the newest suspect in a
      R-esldentiaf Burglary end a Hit and Run/Motor Vehide, Ute just stays interesting, doesn't It?

      fkhet-'~
      Detective
      Major Crimes Unit
      (360)397-2028
      john.o'mara@clark.Wi3.90V

      -'~CONFIOENTIALITY          NOTICE"-'

     ThIS e-maU m<!y contain Information that Is privfleged, confidential, or otherwise exempt from disclosure under applicabte
     law. If you are not the addressee or it appears from the context or otherwise that you have received this e-mail in error,
     plesse advise me Immediately by reply e-mail, keep the contents conftdentiJilI, and !mmediately delete the message and
     any attachments from your system.




     From:             Earl, Sl:ephenie
     sen"
     To,
                      Friday, AUgust 2<1, 2007 LO!39 AM
                      OMara( John                                ,
     SubjElct:        RE': Prebia( IntervIew re: 01110 Constance
     We just received a citation from the court for an attorney review for next Thursday. Apparently, DIna wants a new attorney
     .•. Again. "n probably waif to schedule your interview until we find out what is going on.

     From!           . O'MaT<I, John
     Sent:             Friday, AUgust 24, 2007 8:19 Mi
     Tot              Earl, St!=phDJlie
     SUbiElct:        RE; Pretrial lntervlew fe: Oino Constance

     Story of my life. I will be. but of town in Burien from 9-4 until either very late on 9-6 or some time in the afternoon on 9-7.
     will be the Presiding Member for a Decertification Healing with the Training Commission and therefore Must attend. Is
     there any chance II can be put out further? I have the following dates available, If that helps:

     09/12 - am only, 09113 - am only, 09/14 - all day, 091la -all day. 09120 - am only. 09i26 - all day, 09/27 - am only. 09i28 -
     all day,

     Hopefully one of those will work. Sorry for any trouble this may cause, bJJt as you can see by the many "skippea" days. I
     hdve a fvll plate for S€pternber, and It gets progressively worse in October anq November. Thanks.

     fJJ.. t-' '?1t'atut
     Deteotive
     Major Crimes UnIT
     (360)397-2028
     john.o'mara@darl<:.wagov




                                                                                                                           005574
APPENDIX C
    ;"(----       ----------
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  :,"   '                          ' I,'
I "~




                                                                                                                   ./.




                              IN THE SUPE:RIOR COURT OF THE STATE OF WASHINGTON
                                                    IN AND FOR THE COUNTY OF CLARK
                                                          ,
                                                              ,   "




                    STATE OF WASHINGTON,
                                                                             No. 07-1-00843-8
                        Plain'tiff,
            ','
                        v.
                    DINa J. 'CONSTANCE,

                        Defendant.

                                  .....




                                               COURT'S INSTRUCTIONS TO THE JURY



                                                              Q2~'.
                                                              SUPERIOR COURT JUDGE

                                                                      ;:e,£nAq.,-v .2?,:2 068'
                                                              DATE            /       ;>




                                                                                                 .'..




                                                                                                            ,
                                                                                                        "   ;...
                                                         INSTRUCTION NO. -----'1...,....,....-_



                                  It ,i~ youi' duty to decide the facts in this case ~ased upon the'evidence

                        presented to you during this trial. It also is your duty to accept t~e 'Ia'w from' my

                        instructions, regardless of what you personally believe .the law i::? or what 'you                               '

                        pen)Qnally think it sholild be. You must apply the law from my instructions to the,

                        facts that you decide have been proved, and in thiS way decide the case.                                   "

                                  Keep in mind that a' cha'rge 'is only an accusation. The                       fili~g   of a charge   i's
                       not evidence 'that the charge is tr.ue. Your decisions as jurors mus~ be made ,
                              ,       "



                       solely'upon the evidence presented during these proceeding~.
                                                                                                                                             , ,

                              The evidence that you are ,to consider ~uring your deliber,ations consists

                       of th~ testimony that you have heard from witnesses, stipulations, and the                                                 . :;~..
                                                                                                                                                         ,   ~.'



                       'exhibits that I haye admitfed, during the trial. Ir.evi~ence'was not admittecl'or was ~,

                       stricken from the record, then you are not to co'nsider'it in reaching your verdict.                                         ,:

                           " Exhibits may have, been marked by the court clerk afldgiven ,a number, ' ,
                                                                                                                  "                                 '




                      but they do not go with you to the jury room during your dem:>erations' unless they
                                                                                                    ,        I


                      have been admitted into evidence. The exhibits that h~ve been admi'tted will be ..

                      available to you in the jury room.

                             One of my duties has been to rule on the admissibility of ~vidence. DO not

                      be concerned during your deliberations about the reasons for my rulings, on' the                                        '

----------- __ ,____ ._.. 6vidence. If I have ruled thaLanyeyjdenc.e
                  I
                                                                                       is jn~dmi~§.iple, gr if.lhav~:asK~dYQy. ___ ~__, ___ .._._._..___: .
                                                                                                         "                                                         -~   ••   ,-




                      to disregard any evidence, then you must not discuss ,that evidence during your: '

                      deliberations or consider it in reach ina your verdict.
                                  I             -   -   ....   -   -   -   ....,   "




                                                                                                                                                                   If\. 'V
                                                                     I,




          In order to decide whe,ther any proposition has been proved, yo~'mList        :'

  consider a'il of the evidence that I have admitted that'relate$ to the proposition.
                                                                                                "


  Each party is entitled to the benefit of all of the evidence, whether or hot that

  party introduced it.
                     "                                           ,


         You are the sole judges of the credibility of each witnes~. YO!J are also the
                         ,       ,


  sol,e judges of the value or weight to be given to the testimony ,of each witness.

  In considering a witness's testimony, you may consider the'$e th'ings: th'e       ,

 opportunity
  .'      .
             of the witness to observe or know the things he or she 'testifies about;.

 the ability ot'the witness to observe accurately; the quality of a witness's' m'emory

 while testifying; the manner of the witness while testifying; any personal interest

 that the witness might have in the outcome or the issues; any'bias or prejudice ,

 that the witness may have shown; the reasonableness of the witness's

,statements in the context of all of the other evidence; 'and any other factors that

 affect your evaluatio,n or belief of a witness or your evaluation of his ,or her

testimony.

        The laWyer~' remarks, statements, and arguments are,intended t6 help

you understand tile evidence and apply the law. It is' important,
                                                              .
                                                                  "however, for you"      :!,

to remember that the lawyers',statements are not evidence. T,he evidence is the"

testimony and the exhibits. The law is contained in my instructions to you. You,

must disregard any remark, statement,' or argument that is not suppo~eo'by the'

evidence or the law in myinstruQti,ons.
                                                                                          ,,'


       You may have heard objections made by the lawyers during trial. Each

party has the right to object to questions asked   by another lawyer,     anq may have,
      ..,


                        a duty to·do·so. These objections should not inflL.!ence you. Do not .make any:'
                                  ,       '                                                   .
                        assumptions or draw any conclusion,s based on a layvyer's objections .. '.
                                        .      .
                                Our state constitution prohibits a trial judge from ma~ing a.comme.nt,on

                        the evidence'. It would be impro'pe~ for me to express, by words or conduct: my

                        personal opinion about the value of testimony or other evidence. I have not

                      . intentionally done this. If it appeared to you that I have indicated my personal .'
                                    .                             '                          .

                       opinion in any way, either during trial or in giving these instructions, you must

                       disregard ,this entirely.

                                You have nothing whatever to do with any punishment tha~ may be·

                      . imposed in case of a violation of the law. You may not consider the fact that

                       punishment may follow conviction except insofar as it may tend to make you

                       careful. .

                               The order of these instructions has no significance as to their r~lative

                      importance. They are all import<;lnt. In closing arguments, the lawyers may

                      properly ~iscuss specific in·structions. During your deliberations, you .must

                      consider the instructions as a whole.

                              As jurors, you are officers of this court. You must. not let your:erryotions

                      overcome your rati.onal thought process. you must reach your decision based on

                     the facts proved to you an~ on the law given to you, not on sympathy; prejudice,

                     or personal preference. To'assure'that all parties receive a fairtrial"you'must act

···-··......··..··- .. ···.. -..im~artiallywith an eamest desire to reach'   a proper verdict.   •




                                                                                                      ;




                                                                                                              \ f\.l.{
                               INSTRUCTION NO.         3

            A separate crime. is charged.in each count. You must decide each count

     ,separately. Your verdict on one count should not control your verdict on· any

     other count.



,.                                                                                    :..




                                                                                \.




                                                            ,.
'/




                                   INSTRUCTION NO. _ _         q..l.-_
                  To convict the defendant of the crime of crir:ninal, solicitation as .charged in

         Count 1, each of the following elements of the crime, must be prov~d beyond a

         reasonable doubt:

                  (1) That on br between January 15, 2007 and April 10; 2007, the

        deferi~ant offered to give money or other thing of value to Michael Spry to ( ,

        engag~     in;specific conduct; ,

                  (2) That such giving or, offering was 'done with the intent to promote or
                                                                                         I




        facilitate the commission of the crime of Murder in the First Degree;

                 ,(3) That the specific conduct of, the bther' person would constitute' the "

       crime of Murder in the First Degree or would establish complicity of the other ,:"
                                            ,                                             '    ,

                                                         ,                     "



       person in the commission or attem'pted commission 'of the crime of Murder in the '

       First Degree if such crime had been attempted or committed; and

                 (4) That the acts occurred in the State of Washington.,

                 If you find from the evidence that each of these el~mentshas been '

      proved beyond
                  . a reasonable
                        .
                                 doubt, then it will be your,dl!ty
                                                         . . '
                                                                   to return a verdict of '

     , guilty.

                 On the other hand, 'if, after weighing all the evidence, yo~ have            a
      reasonable doubt as to anyone ,of these elements, then it will' be your duty to

      return a verdict of not gUilty.
.~




                                  INSTRUCTION NO.       _-",1.."...0__

                To convict th!3 defendant' of ,the crime of criminal solicitation' as charg~d in,

       Count 2, each of the following' ele'!lents of the crime must be proved beyon,d a

       reasonable doubt:

                (1), That on or between January 15, 2007 ,.and April 1'0, .2007, the'

      defendant offered to give rrion~y or other thing of value to ,Jordan Spry to engage

      in specific condUCt;,

               (2) That- such giving', or offering was done with the intent, to promote or
                             . "                                      .              ""




      facilitate the commission of the crime of Murder in the First Degree;, ,
                                                                            ..                  ";"   "



               (3) That the specific. conduct of the other person, would constitute' the

      crime ,of Murder in the' F'irst Degree or would establish complicity, of the ot~er

     person in the co~mission or attempted commission of the crime of Murder in the

     First Degree if such crime had been attempteq or committed; and

               (4) That the acts occurred ,in the State of Washington.

               If you find from the evidence that each of these elements has been

     proved beyond a reasonable doubt, then it will be your duty to            retur~     a   v~rdic~ of
     guilty.

               On the other hand, if, after weighing all the evid.ence you have a '

     reasonable doubt as to anyone of these elements, then it wi'll ~e' your duty to

     return a verdict of not 9uilty.




                                                                           -    - - ..    ~   '-._,----       ~-




                                                                                                          ,       -----
                                                                                                              '-,-'
                            INSTRUCTION NO. _.....:../....:...,/_ _


           To convict the defendant of the crime of. criminal solicitation as charged in

, Count 3, each of the follo,wing elements of the crime must"be proved beyond         ,ct ' '
  reasonable doubt:

           (1) That on or between April 13, 2007 and May, 7, 2007, the defendant

 'offered to,give money or other thing of value to Ricci Castellanos to engage in

 specific conduct;'

          (2) That such giving or offering was done with the intent to promote: or

 facilitate the commission of the crime of Murder in the First Degree;

          (3), That th~ specific conduct of the other person :would constitute the

 crime 'of Murder in the First Degree or would establish complicity of the other' ,
                      ,                                                  I




 person in the commission or attempted com'mission of the crime of Murder in the ,

First Degree if such crime had been attempted or committe~; a~d

          (4) That the acts occurred in the State of Washington.

          If you find from the evidence that each of these elements has been

proveq beyond ,a reasonable doubt, then it will be your duty to return ~ ~erdict of          "

guilty.

     , On the other 'hand,' if, after weighing all the evidence you, have 'a

reasonable doubt as'to any' qne of these elements, then it will be your duty to

return a verdicfof not guilty~




                                                                                       '.'       '
